
30 N.Y.2d 568 (1972)
Helen D. Nielsen, as Administratrix of The Estate of William B. Nielsen, Deceased, Appellant,
v.
City of New York et al., Respondents, et al., Defendants.
Court of Appeals of the State of New York.
Submitted February 14, 1972.
Decided February 17, 1972.
Thomas Grimes and J. Lee Rankin, Corporation Counsel (Stanley Buchsbaum of counsel), for respondents.
Matthew L. Danahar for appellant.
Motion granted and appeal dismissed, with costs and $10 costs of motion, upon the ground it does not lie absent a stipulation for judgment absolute (CPLR 5601, subd. [c]).
